                        Case 19-10855-BFK        Doc 16      Filed 04/16/19 Entered 04/16/19 15:48:54                  Desc Main
                                                             Document     Page 1 of 2




                                                    IN THE UNITED STATES BANKRUPTCY COURT
                                                      FOR THE EASTERN DISTRICT OF VIRGINIA
                                                              ALEXANDRIA DIVISION
                              In re:
                              CATHY T NGUYEN,                                              CHAPTER 13
                                              DEBTOR.                                      CASE NO. 19-10855-BFK
                                              OBJECTION TO CONFIRMATION OF CHAPTER 13 PLAN
                                                                                NOTICE

                              YOUR RIGHTS MAY BE AFFECTED. YOU SHOULD READ THESE PAPERS CAREFULLY AND DISCUSS THEM WITH
                              YOUR ATTORNEY, IF YOU HAVE ONE IN THIS BANKRUPTCY CASE. (IF YOU DO NOT HAVE AN ATTORNEY, YOU
                              MAY WISH TO CONSULT ONE.)

                              IF YOU DO NOT WISH THE COURT TO SUSTAIN THE OBJECTION SOUGHT HEREIN, OR IF YOU WANT THE COURT
                              TO CONSIDER YOUR VIEWS ON THE OBJECTION, THEN YOU MUST ATTEND THE HEARING ON THIS MATTER,
                              OTHERWISE, THE COURT MAY DEEM OPPOSITION WAIVED, TREAT THE OBJECTION AS CONCEDED, AND ISSUE
                              AN ORDER SUSTAINING THE OBJECTION WITHOUT FURTHER NOTICE OR HEARING.

                              THE HEARING IS SCHEDULED TO BE HELD ON MAY 16, 2019 AT 1:30 PM AT THE
                              U.S. BANKRUPTCY COURT, ALEXANDRIA DIVISION, 200 S. WASHINGTON
                              STREET, ALEXANDRIA, VA 22314, IN COURTROOM NUMBER I, 2ND FLOOR.


                                       COMES NOW, Specialized Loan Servicing, LLC, as Servicer for The Bank of New York
                              Mellon FKA The Bank of New York, as Trustee for the certificateholders of the CWABS, Inc., Asset-
                              Back Certificates, Series 2006-12 (“Secured Creditor”), by Counsel, and objects to the confirmation
                              of the Chapter 13 Plan (the “Plan”) and in support thereof, represents unto the Court:
                                       1.     Secured Creditor has a claim against the property of the Debtor located at 21489
                              Rusty Blackhaw Square, Sterling, VA 20164 by virtue of the Note and accompanying Deed of Trust.
                                       2.     The Secured Creditor is currently in the process of filing a Proof of Claim. Secured
                              Creditor is owed a total debt of approximately $215,808.99. The pre-petition arrears owed when the
                              petition was filed are approximately $7,227.05.
                                       3.     The Plan filed April 3, 2019 is underfunded, as the arrearage owed to this Secured
                              Creditor is understated, with the Plan providing for only $2,420.00 in pre-petition arrears. Therefore
                              Secured Creditor hereby objects to the Plan as filed.
                                       4.     Any Chapter 13 Plan proposed by the Debtor must provide for and eliminate the
                              objections specified above in order to be feasible and to provide adequate protection to this
                              Secured Creditor. It is respectfully requested that this Court deny confirmation of the Plan.
                                       WHEREFORE, the undersigned requests as follows:

Johnie R. Muncy, Esquire
Counsel for Plaintiff
Samuel I White, P.C.
Bar No. 73248
1804 Staples Mill Road
Suite 200
Richmond, VA 23230
(804) 290-4290
File No. 69731
Case 19-10855-BFK          Doc 16   Filed 04/16/19 Entered 04/16/19 15:48:54               Desc Main
                                    Document     Page 2 of 2


              1.      That confirmation of the proposed Plan be denied;
              2.      Debtor be required to modify the Plan to honor the terms and conditions of the
      Deed of Trust; and
              3.      For such other relief as this Court deems proper.
                                                     Specialized Loan Servicing, LLC, as Servicer for
                                                     The Bank of New York Mellon FKA The Bank of
                                                     New York, as Trustee for the certificateholders of
                                                     the CWABS, Inc., Asset-Back Certificates, Series
                                                     2006-12


                                                     By: /s/JOHNIE R. MUNCY
                                                     Eric D. White, Esquire, Bar No. 21346
                                                     Michael T. Freeman, Esquire, Bar No. 65460
                                                     Brandon R. Jordan, Esquire, Bar No. 72170
                                                     Johnie R. Muncy, Esquire, Bar No. 73248
                                                     Nisha R. Patel, Esquire, Bar No. 83302
                                                     Samuel I. White, P.C.
                                                     1804 Staples Mill Road
                                                     Suite 200
                                                     Richmond, VA 23230
                                                     Tel.: (804) 290-4290
                                                     Fax: (804) 290-4298
                                                     jmuncy@siwpc.com


                                        CERTIFICATE OF SERVICE

              I certify that on April 16, 2019, the foregoing Objection was served via CM/ECF on Thomas
      P. Gorman, Trustee, and Ashvin Pandurangi, Counsel for Debtor, at the email addresses registered
      with the Court, and that a true copy was mailed via first class mail, postage prepaid, to Cathy T
      Nguyen, Debtor, 21489 Rusty Blackhaw Sq., Sterling, VA 20164.

                                                     /s/JOHNIE R. MUNCY
                                                     Johnie R. Muncy, Esquire
                                                     Samuel I. White, P. C.
